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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




 DONALD J. TRUMP; THE TRUMP
 ORGANIZATION, INC.; TRUMP
 ORGANIZATION LLC; THE TRUMP
 CORPORATION; DJT HOLDINGS LLC;
 THE DONALD J. TRUMP REVOCABLE
                                                       Case No. 1:19-cv-01136-APM
 TRUST; and TRUMP OLD POST OFFICE
 LLC,


                   Plaintiffs,
                          v.


 MAZARS USA LLP,


                   Defendant,


 COMMITTEE ON OVERSIGHT AND
 REFORM OF THE U.S. HOUSE OF
 REPRESENTATIVES,

                   Intervenor-Defendant.


REPLY TO PLAINTIFFS’ RESPONSE TO INTERVENOR-DEFENDANT’S NOTICE

       As Intervenor-Defendant Committee on Oversight and Reform of the United States House

of Representatives (Committee) stated in its July 14 Notice (Doc. 67), it has received documents

from the General Services Administration (GSA) in response to the Committee’s April 12, 2019

request related to the lease between President Trump’s business and GSA for the Old Post Office
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Building. In total, this production is approximately 1,600 pages.1 It includes six financial statements,

each less than 20 pages in length, that fall within the scope of the Committee’s subpoena to

Mazars. Based on the Committee’s review, on their face, these six financial statements are the only

documents provided by GSA that are Mazars documents and responsive to the subpoena. As the

Committee stated in its Notice, in an effort to reduce Mazars’ production burden, the Committee

will communicate with Mazars to identify whether any of the documents provided by GSA are

identical to documents in Mazars’ possession and can therefore be excluded from Mazars’

production.

        Plaintiffs’ Response (Doc. 68) restates many of the same arguments that they have

previously raised with the Court. However, nothing about GSA’s production, or the small number

of documents responsive to the Committee’s subpoena contained therein, changes the fact that the

Committee still needs the documents it has subpoenaed from Mazars for the reasons stated in its

previous filings. With specific regard to the Old Post Office Building, the Committee needs

documents to determine the accuracy and completeness of the information submitted to GSA, to

assess the need for legislative reforms to safeguard the GSA bid process and the administration of

its leases, and to address the constitutional deficiencies and potential Emoluments Clause violations

stemming from the Old Post Office Building lease.



Dated: July 23, 2021                                    /s/ Douglas N. Letter
                                                        Douglas N. Letter (D.C. Bar No. 253492)
                                                        General Counsel
                                                        Todd B. Tatelman (VA Bar No. 66008)
                                                        Stacie M. Fahsel (D.C. Bar. No. 1034314)
                                                        Eric R. Columbus (D.C. Bar No. 487736)
                                                        OFFICE OF GENERAL COUNSEL

        1
         The size of the production is as Committee counsel stated in a July 15 email to Plaintiffs’
counsel (Doc. 68, Ex. A at 5). An earlier email sent by Committee counsel (id. at 5-6) inadvertently
stated that the production consisted of “approximately 16,000 pages.”


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                                  Representatives




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                                    CERTIFICATE OF SERVICE

        I hereby certify that on July 23, 2021, I filed this document with the Court via ECF, which

will electronically notify all counsel of record.


                                                    /s/ Douglas N. Letter
                                                    Douglas N. Letter
